511 F.2d 68
    88 L.R.R.M. (BNA) 2848, 76 Lab.Cas.  P 10,666
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.CHAMPA LINEN SERVICE COMPANY, Respondent.
    No. 74--1521.
    United States Court of Appeals,Tenth Circuit.
    Feb. 13, 1975.
    
      William Wachter and Frederick Calatrello, Attys., N.L.R.B., Peter G. Nash, Gen. Counsel, John S. Irving, Deputy Gen. Counsel, Patrick Hardin, Associate Gen. Counsel, and Elliott Moore, Deputy Associate Gen. Counsel, N.L.R.B., on brief, for petitioner.
      John K. Pickens, Alexandria, Va., on brief, for respondent.
      Before LEWIS, Chief Judge, and SETH and McWILLIAMS, Circuit Judges.
      PER CURIAM.
    
    
      1
      The National Labor Relations Board seeks enforcement of its order premised upon its decision, 209 N.L.R.B. No. 57, that respondent violated § 8(a)(3) and (1) of the Act by threatening to discharge and discharging a laundry route deliveryman for protected union activities.  The respondent resists enforcement contending that the record as a whole does not support the findings and conclusions of the Administrative Law Judge as adopted by the Board.
    
    
      2
      The record in this case is brief and presents testimony of management and the subject employee in direct conflict as to whether the employee voluntarily quit or was discharged.  The hearing officer very bluntly rejected the credibility of the responsible management witness and gave blanket approval to the truthfulness of the employee.  Accepting, as we must, this determination of credibility the record supports the Board determination and accordingly its order will be
    
    
      3
      Enforced.
    
    